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                                Exhibit 1
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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


 JL Powell LLC and JL Powell Clothing LLC,

                Plaintiffs/Counterdefendants,

        v.
                                                           Docket No. 2:13-cv-00160-NT
 Joshua L. Powell, individually and d/b/a The
 Field, The Field Outfitting, and The Field
 Outfitting Company,

                Defendant/Counterplaintiff.


                           DECLARATION OF JOSHUA L. POWELL

        Pursuant to 28 U.S.C. § 1746, Joshua L. Powell states as follows:

        1.      I am president of The Field, a retail clothing business located in Michigan that has

 five employees.    I provide this declaration under oath in connection with my motion for

 preliminary injunction.

        2.      Prior to The Field, I was president of a retail company named JL Powell Inc. In

 2010, an investor named Blue Highways Holdings LLC (“Blue Highways”), a Santa Barbara-

 based company which creates, acquires and operates lifestyle apparel businesses in the direct

 marketing – catalog & internet – category, wished to invest capital in my company, which it

 valued at $4.3 million.

        3.      Bruce Willard is the founder and chairman of Blue Highways. He was CEO and

 owner of The Territory Ahead, an outdoor lifestyle catalog, from 189 until 1998 when sales

 approached $100 million and he sold the business to Cornerstone Brands. In 2002, he partnered

 with Robert Redford on the Sundance Catalog, strengthening the business and growing it to sales

 of approximately $75 million before selling it to ACI Capital in 2004. He also acquired Athleta,
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 a women’s sports lifestyle catalog based in Northern California, re-branded the business and

 quadrupled its sales to just under $100 million. In 2008, he sold Athleta to The Gap, Inc.

        4.      Instead of investing directly in my existing company, JL Powell Inc., Blue

 Highways “contributed” $2.5 million to a new entity, JL Powell LLC, in exchange for a 57%

 “Class A” interest in JL Powell LLC. In turn, my company, JL Powell Inc., transferred all of its

 assets to the new entity, including the trademark rights to “J.L. Powell,” in exchange for a 43%

 “Class B” interest in JL Powell LLC. I was not personally paid any portion of the contribution

 capital in connection with this transaction.

        5.      The transaction was memorialized in a Contribution Agreement between Blue

 Highways and JL Powell Inc. A copy of the Contribution Agreement is attached as Exhibit A. I

 was not a named party to the Contribution Agreement, and I did not personally participate in the

 drafting of the Contribution Agreement, but I did sign the Contribution Agreement in a personal

 capacity as to Section 7.1(b). In Section 7.1(b), I personally agreed to grant the new entity, JL

 Powell LLC, the exclusive right, license and permission to use my “name” and “endorsement”:

        In connection with this Agreement and the transfer and assignment by [JL Powell
        Inc.] of all [JL Powell Inc.’s intellectual property] to [JL Powell LLC], Joshua L.
        Powell (the “Founder”) hereby grants to [JL Powell LLC] throughout the world
        the sole and exclusive right, license, and permission to use his name and
        endorsement to exploit, turn to account, advertise, and otherwise profit from [JL
        Powell LLC’s] goods and services bearing such name, image, and/or
        endorsement. The grant made hereunder shall be exclusive to [JL Powell LLC],
        and the Founder agrees that he shall not, on behalf of himself or any other person
        or entity, grant any similar right of any kind in connection with any business
        competitive in any respect with [JL Powell LLC] or any of its affiliates and/or
        subsidiaries.

        6.      I also agreed in Section 7.1(b) not to use my name or permit another party to use

 my name in connection with a business competitive with JL Powell LLC or any of its affiliates

 and/or subsidiaries:



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        The Founder further agrees that he will not use his name or permit any other
        person or entity to use his name, and otherwise will not assert any right to use his
        name, including but not limited to any right to use his name under the doctrine of
        fair use, in connection with any business competitive in any respect to [JL Powell
        LLC] or any of its affiliates and/or subsidiaries.

 I understood “affiliates and/or subsidiaries” to mean JL Powell LLC’s then-existing affiliates and

 subsidiaries.

        7.       I was not paid any money or any other consideration in connection with my

 personal obligations under Section 7.1(b) of the Contribution Agreement.

        8.       On March 10, 2010, I entered into an Employment Agreement with JL Powell

 LLC. A copy of the Employment Agreement is attached as Exhibit B. In Section 5 of the

 Employment Agreement, I agreed that “[d]uring the term of his employment hereunder, and for a

 period of one year following such termination [], [I] shall not enter into Direct Competition with

 the Company.” “Direct Competition” is defined in the Employment Agreement as “directly or

 indirectly, whether as owner, partner, investor, consultant, agent, employee, co-venturer or

 otherwise, engaging in or owning or holding any ownership interest in or assisting any person or

 entity engaged in the Business.” The “Business” was defined in the Employment Agreement as

 “the direct-to-consumer business of selling men’s apparel to customers via catalog or internet.”

 Section 7 further states that the Employment Agreement is “the entire agreement of the parties

 with respect to the matters addressed herein and supersede any other prior oral or written

 agreements, arrangements or understandings between [me] and [JL Powell LLC].”

        9.       On November 1, 2011, I entered into an Amended and Restated Employment

 Agreement (“EA”) with JL Powell LLC. A copy of the EA is attached as Exhibit C. In Section

 5 of the EA, as in the Employment Agreement, I agreed that “[d]uring the term of his

 employment hereunder, and for a period of one year following such termination[], [I] shall not

 enter into Direct Competition with the Company.” “Direct Competition” is defined in the EA as

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 “directly or indirectly, whether as owner, partner, investor, consultant, agent, employee, co-

 venturer or otherwise, engaging in or owning or holding any ownership interest in or assisting

 any person or entity engaged in the Business.” The “Business” was defined in the EA as “the

 direct-to-consumer business of selling men’s apparel to customers via catalog or internet.”

 Section 7 further states that the EA is “the entire agreement of the parties with respect to the

 matters addressed herein and supersede any other prior oral or written agreements, arrangements

 or understandings between [me] and [JL Powell LLC].”          I understood that the restrictive

 covenants in the EA superseded the restrictive covenant in Section 7.1(b) of the Contribution

 Agreement.

        10.    On April 2, 2012, JL Powell LLC terminated my employment. In connection

 with the termination of my employment and in exchange for receiving severance payments from

 JL Powell LLC, I entered into a Separation Agreement and Release with JL Powell LLC dated

 April 2, 2012 (the “Separation Agreement”). A copy of the Separation Agreement is attached as

 Exhibit D. The Separation Agreement states that I am “no longer an officer, employee or agent

 of the Company,” “may not act on behalf of the Company,” and “may not bind the Company.” I

 understood this to mean that I was no longer required to promote, advertise, or endorse JL

 Powell LLC in any regard.

        11.    In Section 4(b) of the Separation Agreement I represent that I “ha[ve] not engaged

 in competition in violation of, or otherwise violated either the EA or the JL Powell LLC

 Proprietary Information and Inventions Agreement executed by [me] on March 8, 2010 (the “IP

 Agreement”) and [I have] no current intention to violate any provision of the EA or the IP

 Agreement.” I made no similar representation regarding the Contribution Agreement.




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        12.     Under Paragraph 5(c) of the Separation Agreement, I agreed that my “obligations

 under Sections 4 and 5 (the “Restrictive Covenants”) of the EA, and [my] continuing obligations

 under the IP Agreement, shall remain in full force and effect, and shall be fully enforceable in

 accordance with the terms and conditions of the EA or the IP Agreement, as applicable,

 following [my] termination of employment with the Company and [my] execution of this

 Agreement. By signing this Agreement, [I] (i) recognize[], acknowledge[] and agree[] that [I]

 ha[ve] carefully read and fully understand[] the Restrictive Covenants in the EA and the IP

 Agreement and remain[] fully responsible and liable for complying with the Restrictive

 Covenants in the EA and the IP Agreement.” JL Powell LLC did not ask or require me to read

 Section 7.1(b) of the Contribution Agreement or agree to remain responsible and liable for

 complying with its terms.

        13.     Section 6(f) of the Separation Agreement states: “[I] acknowledge[] that the

 making, execution and delivery of this Release has been induced by no promises,

 representations, statements, warranties or agreements other than those expressed herein. [I]

 understand it supersedes all prior discussions and agreements between [me] and the Company or

 any representative or affiliate of the Company, whether oral or in writing.”

        14.     Pursuant to Paragraph 16 of the Separation Agreement, that agreement supersedes

 all prior written agreements between the parties with respect to its subject matter, except for

 certain restrictive covenants in the EA with JL Powell LLC (which superseded the restrictive

 covenants in the Contribution Agreement) and other agreements that I entered into with JL

 Powell LLC “regarding confidentiality, non-disclosure of information or property, non-

 competition or non-solicitation.”    I understood this to mean that my obligations under the

 Contribution Agreement were of no further force and effect.



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        15.     Under the terms of the Separation Agreement, I understood that after the

 expiration of one year, I was free to directly compete with JL Powell LLC without restriction,

 and no longer had any relationship, affiliation or continuing obligations to JL Powell LLC other

 than certain confidentiality and other obligations set forth in the Separation Agreement.

        16.     In the Separation Agreement, I agreed to provide a release to JL Powell LLC “and

 its parents, subsidiaries and affiliates, and each of its and their past, present and future officers,

 directors, members, servants, employees, attorneys, insurers, successors, independent

 contractors, consultants and assigns.”      Unlike the restrictive covenant in the Contribution

 Agreement, I granted rights to certain of JL Powell LLC’s “future” parties.

        17.     In January of 2013, several months after I was fired from JL Powell LLC, the

 Board members of JL Powell LLC (who were all members of Blue Highways) agreed to transfer

 all of the company’s assets to a new entity created by Blue Highways, i.e., JL Powell Clothing

 LLC, in satisfaction of a loan made by Blue Highways to JL Powell LLC of approximately $1.4

 million. Again, I was paid no money in connection with this bulk transfer. In sum, I was not

 paid anything for the assets of the company that I founded and contributed to JL Powell LLC.

        18.     I understand that JL Powell LLC assigned its rights under the Contribution

 Agreement to JL Powell Clothing LLC, including my obligations under Section 7.1(b), without

 my written consent or the written consent of my company, JL Powell Inc. I would not have

 consented, and would have advised the parties that my obligations under Section 7.1(b) were no

 longer in force and effect.

        19.     On July 11, 2013, my counsel sent a Termination Notice to JL Powell LLC c/o

 Blue Highway (as required under the notice provisions of the Contribution Agreement), attention

 Bruce Willard, notifying the parties on my behalf that I was terminating the grants in Section



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 7.1(b) of the Contribution Agreement. A copy of the Termination Notice is attached as Exhibit

 E.

        20.     The Termination Notice explained that that any grant in Section 7.1(b) of the

 Contribution Agreement was superseded by the subsequent Employment Agreement, EA, and

 Separation Agreement entered into by me and JL Powell LLC in 2010, 2011 and 2012,

 respectively, and advised the parties that the publicity rights I granted personally under Section

 7.1(b) were improperly assigned without my consent. The Termination Notice also noted that

 the Counterdefendants had ceased to use any reference to my name, image, or likeness in the J.L.

 Powell catalog. But in an abundance of caution, I sent the Termination Notice as “written notice

 of termination of Section 7.1(b) of the Contribution Agreement.” (emphasis in original). The

 Termination Notice indicated that the grant in Section 7.1(b) was terminable at will because it

 did not specify a fixed term of duration. The Termination Notice also indicated that any

 “continued use of any of the rights granted under Section 7.1(b) shall be considered a violation

 of Mr. Powell’s publicity and/or privacy rights.”

        21.     On August 26, 2013, I discovered that the Fall 2013 J.L. Powell catalog includes a

 personal message with my signature below it. A copy of the catalog page containing the message

 is attached as Exhibit F.   The message is reproduced below:




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 The personal message begins with “For me, 50 miles an hour is a perfect speed …,” discusses

 pieces of clothing that “we design,” and ends with my handwritten signature.

        22.    I did not authorize JL Powell Clothing LLC to use my signature in the catalog. I

 did not author the message, nor did I authorize the content of the personal message. Moreover, I

 did not participate in “designing” the clothing in the Fall 2013 Catalog. On information and

 belief, JL Powell Clothing LLC printed and mailed the catalog after my counsel sent the

 Termination Notice.

        23.    This unauthorized use of my name and endorsement falsely suggests that I am

 still employed by J.L. Powell, that I participate in the design of its clothing, and that I am

 actively promoting the company.




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        24.     I have received phone calls and e-mails from recipients of JL Powell Clothing

 LLC’s Fall 2013 Catalog who have been misled into believing that I had authored and signed the

 personal note in the Catalog.

        25.     I have been irreparably harmed by these wrongful acts. My new company, The

 Field, directly competes with J.L. Powell. These acts have put me in jeopardy of losing investors

 in The Field, who have expressed concern about my name being used in connection with a

 competing business, and such continued unauthorized use of my name and endorsement will

 prevent future investment opportunities.     Such lost opportunities could impact my ongoing

 operations.

        26.     My reputation is irreparably harmed by the improper application of my

 endorsement and signature to personal messages that I did not write or approve. It is being

 misrepresented to the public that I co-design and approve my competitor’s products. I do not

 participate in the selection and design of my competitor’s products, and I have no desire to

 endorse my competitor’s products. I no longer wish to be personally affiliated with J.L. Powell

 in any regard, and I should be free to promote and endorse The Field without interference.



        I declare under the penalty of perjury that the foregoing statements are true and correct.



 Dated: September 10, 2013                           /s/ Joshua L. Powell




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